          Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 1 of 35                   FILED
                                                                                 2024 Apr-19 PM 12:09
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA



                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


     JAMES VESTAL, an incompetent
     adult, by and through his next friend
     and Mother, KIMBERLY CARTER,

                Plaintiff,,                      CNIL ACTION CASE
                                                 2:24-cv-
     v.

     KAREN BALLARD-
     MONTGOMERY, M.D.,

                Defendant.


                              NOTICE OF REMOVAL

      COMES NOW the United States of America on behalf of Dr. Karen Ballard-

Montgomery, a federal employee, by and through Prim F. Escalona, United States

Attomey for the Northern District of Alabama, and Jack Hood, and Margaret

Lester Marshall, Assistant U.S. Attorneys, and gives notice of removal of the

above-captioned civil action pursuant to 42 U.S.C. $ 233 and shows as follows:

      1.      Dr. Ballard-Montgomery is named a defendant in the above-captioned

civil action now pending in the Circuit Court of Bibb County, Alabama, in Civil

Action No. 07-CV-2024-900003.00 (Exhibit 1). Plaintiff filed suit on or about

January 10,2024, and the case has not yet gone to trial.
        Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 2 of 35




       2.      In this case, Plaintiff James Vestal, an incompetent adult, by and

through his next friend and Mother, Kimberly Carter, alleges that on or about from

F ebruary7 ,20 1 9 through May 25 , 2023 (dale of colonoscopy that revealed a


colorectal mass which was determined to be stage IV metastatic adenocarcinoma),

Dr. Ballard-Montgomery, an employee of the Cahaba Medical Care Foundation

("Health Center"), provided Plaintiff with negligent medical care in failing to

diagnose and treat this cancer at an earlier stage.

       3.      At the time of the alleged medical treatments, Dr. Ballard-

Montgomery was an employee ofthe Cahaba Medical Care Foundation, an entity

that the Secretary of Health and Human Services (IIHS) had deemed to be an

employee of the Public Health Service (*PHS") under applicable provisions of the

Federally Supported Health Centers Assistance Act ("FSHCAA") (42 U.S.C. $

233(g)-(n)).

       4.      Thus, by operation of the FSHCAA, Dr. Ballard-Montgomery was

deemed to be a PHS employee for purposes of 42 U.S.C. $ 233 at the time of the

incidents giving rise to suit.

       5.      As shown by the Certification of Scope of Employment (Exhibit 2)

filed herewith, Dr. Ballard-Montgomery was a covered person acting within the

scope of her "deemed" federal employment with the PHS with respect to the acts

or omissions giving rise to suit.
        Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 3 of 35




      6.     Section 42 U.S.C. 233(c) provides that upon certification by the

Attorney General that the defendant employee was acting within the scope of her

employment at the time of the incident out of which the claim arose, any state-

court civil action or proceeding commenced upon a claim against her for damages

for personal injury (or death) resulting from the performance of medical or related

functions shall be removed to the district court of the United States for the district

and division embracing the place in which the action or proceeding is pending and

shall proceed against the United States.

      5.     The United States of America, on behalf of Dr. Ballard-Montgomery,

files herewith copies of the summons and complaint and the Alabama SJIS Case

Detail showing docket entries (Exhibit l)inJames Vestal, an incompetent adult,

by and through his next friend and Mother, Kimberly Carter v. Karen Ballard-

Montgomery, M.D., Civil Action No. 07-CV-2024-900003.00 (Bibb County

Circuit Court), which indicates all that she has received by way of process,

pleadings, notices, and orders to date.

      WHEREFORE, this action is hereby removed from the Circuit Court of

Bibb County, Alabama to the U.S. District Court for the Northem District of

Alabama, Southem Division.

                                               Respectfully submitted,

                                               PRIM F. ESCALONA
                                               LINITED STATES ATTORNEY
       Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 4 of 35




                                            s/ Jack Hood
                                            Jack Hood
                                            s/ Marsaret Lester Marshall
                                            Margaret Lester Marshall
                                            Assistant United States Attomeys
                                            U.S. Attorney's Office
                                            State BarNo. D41J (Hood)
                                            State BarNo. X29Q (Marshall)
                                            1801 Fourth Avenue North
                                            Birmingham, Alabama 3 5203
                                             (20s)244-2001
                                             (20s)244-2181 (fax)
                                            jack.hood@usdoj.gov
                                            margaret.marshall @usdoj gov
                                                                       .




                         CERTIFICATE OF' SERYICE

        The undersigned Assistant United States Attomey hereby certifies that the
foregoing Notice of the United States Under 42 U.S.C. $ 2330X1) was sent by
first-class mail and by email on April 19,2024, to the following:

                         Lloyd W. Gathings, Esq.
                        Todd S. Strohmeyer, Esq.
                        Attorneys for Plaintiff
                        Gathings Law
                        2140 llst Avenue North
                        Suite 210
                        Birmingham, Alabama 3 5205
                        Telephone: (205) 322-1201
                        Fax: (205) 322-1202
                        E-mail : lgathings@gathingslaw.com
                        E-mail: tstromeyer@gahtingslaw.com

                                            /s/ Jack Hood
                                             Jack Hood
                                             Assistant United States Attorney
              Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 5 of 35
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Form C34 Iig/tt,t)t?il                                   .   clvll.                                 07-cv-2024-900003.00
                                 IN lHE clRcUlT GOURT Op EIBB COUNTY, AL-ABAltd/A
                             JAMES VESTAL V. KIIREH BALLARD"ilIOHTGOMERY, ilI,D. ET AL
  NOTICE TO: IGI{EN BALIAE0{,!oNT@MERY, M.0.. a8s2i HlctltyAy s, woODgrOCK AL 3Srss


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                                                                     /s/ KAYLA COONER                         Frrr.
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                               lN THE CIRCUIT COURTOF EIBB GoUNTY, A,l-ABAlilA
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      Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 7 of 35
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           CIVILACTIONNO.:
 JAMES vDsrAL, an lncompetent adult, by and through his next fi:iend and Mother,
 KIMBERLYC,A.RTER;

         Plalntiff,

                                                      V.

 KABEN BALLARD-MONTGOMERY, MJ).; S'lctitious llefendant No. I, whether sipgular
 or plural,.that entity which undedook to provide medicat, diagnostic, rehabilitative, technicil,
                                                                                                  or
 therapeutic sewices to Plaintifi, whose negligence, breach or tne stanoaro of care.
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 contract or other actionable condilct contfibuted to cause the injuries to ptairrtiff; f,.ictidorisl"
Defendant No. 2, whether singular orplural, that medical parmership, professional associatioi,
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professional corpomtion which-uaiertook to provide medical iirrir.r to nuintiq
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negligencq breach ofthe standard ofcare, breach ofcontract, other actionable conduct
                                                                                           contibuied , ,,
to cause the injuries to Plaintifi Fictidous Defendant No. 3, whether singulai. or plural,
                                                                                                   that
g} ryiqig (including an intemr,resident or fellow) who undertook to providJmedical services to
Plaintiff, the negligencq breach ofthe standard ofcarq breactr ofcinn..a, *-oth*
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conduct of whom contributed to cause the injuries to Plaintiff;, I'rcttffous Difeldant
                                                                                                No. 4,
whlhel singular or plural,.-that licensed, registered, or practical ourse wtro undertook to provide
medical services to Plaintiff, whose negligence, breach ofore standard ofcare,
                                                                                   Ureach otcontract
or other actionable conduct of whorrr contributed to cauee the injuries to irtaintifi Ftctitious
Defendant No. 5, whether singular or plural, that med.ical services tf,erapist,
                                                                                technician, or worker.
who undertook to provide services to ptaintirwnose negligence, brea;h
                                                                             of td;tandard of ca.q                 l
 breach-of'contract,orotheractionableconductotwhidcontriuuteotocaus'-tl,io;*i.,to
Plaintifq Ficfitious Defendant No. 6, whether singular or pr**1,-taut-rntJ*nr
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practitioner who undertook to provide services to pLintiff, *nor"
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injuries to Plaintift I'ictifious            No. ?, whether singurar   pi;l;
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assistart  who undertook to provide medicar servicis to       plaintig-";hos;;&&;;;;;;;f.tr
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$andard   ofcare,  breach ofcontract,, or other actionable conduct ofwhom cin[iuuteo to                      '
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injuries !o Plaintiq Fictttloue Defendant No. g, whether siogrru
                                                                      oipir;;,h.;";ilry
entities, who or which was. the employer of any nurse who'se action or
                                                                                io".tioo caused and"ffi#
contributed to Plaintiffs rljtnigs and damages as alleged io pruiotifs-c*pr"m.;
                                                                                               Ficti6ous
Defendant No. 9, whether singular or plural, that entity wf,icn conceminj
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        S! basis of this suit, was the principal of aay of the named or a-bove-desciibed fictitious
party defetrdants; Fictidoue Detenaant No. 10, whether singular or plural,
                                                                             tt            .,rt i"t ,is tt,"
torrelj  qe!rp.a!on,   predecessor, traxsferee, or successor--in-interest oi tt""t-Jnfity,r*.a or abov.e
described Fictitious Party Defendants; Fictitious Defendant No.           ll,
                                                                        whether singular or plural,
that person, who, as an orvner, stockhorder, partner, associate, *rnprov"",
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Fictitious Party Defexdants who undertook to provide any healtl ca." oiteiutro
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on tle occasion made the basis of this suit, the negligenle, breach of me stanOar6 of""r.,
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of confract or other actionable conduct of whom c6ndbuted to cause the i"j*i"r to ptaintiff;




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     Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 8 of 35
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                                                                                      : ' i.            i:;;li'


                                                                                                              l

Fictitious Defendant No, 12, whether singular or plural, tle entity other than those describeil
above, the negligence, breach ofthe standard of care, breach ofcontract or other wrongful conducl.
of which coutributed to cause the injuries to Plaintiffs; and Flctltious Ilefendant No. 13, whether
singular or plural, that entity or those entities wbo or which provided any insurance corerage, of.
whateverkind or character, for any ofthe named or fictitious party defendants listed ornamed
herein. Plaintiff avers that the identity of the above tictitious pafty defendanls is otherwise
un}nown to Plaintiff at this time, or if their names are kxowr to Pdintiff at this'titU their irtedir!
as proper party defendants is not loown to Plahtiff at this time, but their tru'e'iiames will'bl
substituted by amendrnent when the afbresaid Iacking knowledge is ascertained.''t't','
                                                                                                    ,   j.

        Defendants.                                                                  ir'           '':''"'.''.'
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                                          C0MPLATNT                                                -r
                                                                                          :,                      ,



        I.      PlaintiffJames Vestal is an adult autistic male and incompetent person, who briiigs

   this action by aod through his Mother a$d flext friendKimberly Carter, and at all relevant tknes,

   both were irdividual resident citizens of the State of Alabama and over the age of nineteen (l,g)
                                                                                                              I

   years, (her€iilaft er,'?laiutiff ').

        2.      Defetrdant, Dr. Karen Ballard-Montgomery, is an individual resident citizen of.the

   State of Alabama and is over the age of nineteen (19) years. At alt relevani tirn-es, oefendant
                                                                                  ,,..,   .       ' !l
   Dr. Ballard-Monlgomery practiced medicine as a primary care physician in Bibb CouEty,

   AInbama.

        3.      Fictitious PartyDefendants, Nos.1,2,3,4,5, 6,7, 8,9, 10, 11, 12, and l3 are those

   other defendant whose names ate otlerwise unknown and r,vilt be supplied by amendment wben

   ascertained and are the respective entities who or which fit the foltowing descriptions:

   Ficdtious Defendant No. 1, whether singular or plural, ttrat eutity which undertook to provide

   medical, diagnostic, rehabilitative, technical, or therapeutic services to Plaintiff whose

   negiigence, breach of the standard of carc, breach of contmct or other actionable cond.uct

   contibuted to cause the injuries to Plaintiff; $'ictitious Defendant No. 2, whether singular.or

   plural, that medicat parhership, profes$ional association, or professional cotporation which



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                                                                                                   . 1........
  Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 9 of 35
                                                                                      !;,-,.1.
                                         DOCUMENT 2




 utrdeftook to provide medical services to Plaintilf whose negligence, breach ofthe standard
                                                                                                           of
 care, breach ofcontract, other actionable corduct confiibuted to cause the iujuries
                                                                                                 to plaintiff;

 Fictitious Defendant No. 3, whether singular or ptura! that physician (including an intem,

 resident or fellow) rrho undertook to provide medicat services to Plaintifi
                                                                                       the negligence;,
 breach of the standard of care, hreacb of contract, or other actionable cotrduct
                                                                                                   of whdrir
 conffibuted to cause the injuries to Plairtifi Flctldous Defendant No. 4, whether singular-ori

plural, that licemed, r'egistered, or practical nurse who undertoolc to provide
                                                                                    medical servibes.
to Ptaintiff whose negtigence, breach of the standflrd of care, breach of contract,
                                                                                                    or other
actionable conduct of whom contibuted to cause the iduries to plaintifl; Flctitious
                                                                                                 Defendant
No. 5, whether singular or plural, tlrat medical services therapis! techniciau,
                                                                                       or worker whci
undertook to provide services to Plaintiffwhose uegligencg breach ofthe
                                                                                   etandard ofciirg

breach of contract, or other actionable conduct of whom contributed to
                                                                               cause the injuries to

Plaintiff; ['ictidous Defendant No. 6, whether singutar or plural, ihat student health
                                                                                                         care

practitioner who utrdertook to provide services to Plaintiff whose negligance,
                                                                                           breach of.the

standard of care, breach of contract or other actionable conduct
                                                                   of whom contributed to cause

the iqjuries to Plaintifi Fictidous Defendant No. 7, whether singular
                                                                          or plural; that physicians'

assistant who undertook to provide medical services to Plaintiff whose
                                                                              negligencq breacli of

the standard of care, breach of conhact, or other actionable conduct of
                                                                              whomrcontributed..to

cause the injufies to Plaintift Fictitious Defendant No. 8, wh.ether
                                                                       singulat or plural, that entity

or those entities, who or which was the employer ofany nurse whose actiog
                                                                                 or inabtion caused

and contributed to Plainriffs injuries and damages as alleged in plaintiffs complaing;

S'ictitious Defendant No. 9, whether singular or plutal, that entity whicb conceming the
                                                                                                    actions

and inactions made tbe basis of this suit, was the principal of any of the named
                                                                                                 or above-



                                                                                  ,: ii.
 Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 10 of 35
                                         DOCTJMENT2




describedFictitious Party Defendants; Fictltious DefendantNo. 10, wbethersingular orplural.

that entity which is the correct desiBnation, predec€ssor, hansferee, or succ6$s0r:in-inter.est of

the named or above described Fictitious Party Defendants; I'ictitious Defendant No. 11,

whether singular or plural, that person, who, as arr own€r, stockholder, F4r-tger, associlte,

employee, or agent of any of tbe fictitious Party Def'endants who uudertook to provide .apy,

health care or related sef,vice to Plaintiff on the occasion made the basis of ihis suiq tle"

negligence, breach of the standald of care, breach of coailact or other actionable conduct o[

whom contributed to cause 1le injuries to Plaintift Flcdtious Defendant No, 12, wbether

singular or plural, the entity otrer than those descr{bed abovq the negligencq breach ofthe

standard of care, breach of contract or other wrongful conduct of which contibuted to cau$e

the injudes to Plaintiff; and Ftctttlous Defendaut No. 13, whether singular orrplural, thar entity

or those entities who or which provided arry insurance coverage, of whatever kind           characteri
                                                                                      'or
for any of the named or Fictitious Party Defendants listed or named hereia. Plaintiff aver.sitl.rat

tle identity of the above Fictitious Party Defendauts is otherwise unknown to Plaintiff at ttils

time, or iftheirnames are known to Plaintiffatthis timetheir identity asprcperparty defendants

is not known to Plaintiff at this time, but their true names will be substituted by amendment

when the aforesaid Iacking l<nowledge is ascertained.

    4-      At all times herein concemed, Defcndant, her agents, servants, and employees held

the mselves out to the general public and in pafticularto Plaintiffas competetrtash   primary care

physician and expert in medical diagnosis, treatmen! care ard all other medical issues,and

conditions of whjch Plaintiff sought care and treatmeot from Defendant. ,,i

    5.      on or abo,t January La, 2019, Plaintiff, an adult autistic malei sought,:ard
established primary medical care with Defendant Dr. BaUard-Mo,utgomely. On these occasitirns
Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 11 of 35
                                        DOCT]MENT2
                                                                                                  : i,1lxi.,;




Plaintiff was accompanied by his mother andlor maternal grandmothsr itr whichDefendant Di,

Ballard-Montgornery established prima{y comprcbensive medical care of Ptairrtiffto diagnose

and heat illnesses, plEvent diseasq manage conditions as Plaintiffs main health care providei

for non-omergency health care. On this date, a medical history was taten stro*iiig irlaintifl'ili

a strong family history of colon cancer. Plaintiff sought care and guidanci iirid reportej'to

Deferdantthathe suffered from weekly dianhea, abdominal pain, and bloody stools.

     6.     On or about Februuy 7,20!g,Plaiiutiffpresented to Defendant with complainti of

bloody stools and, diarrhea without constipation, Thereafter, plaintiff continu;d primiry

medical care from Defendant with visits on February zl,2olg;April I I, 2019; July 16, z0lg;

November 12, 2019; December l2,Z0t9; February 25, 2020; March 20, 2020; May 12, 2020;

September3,2020; November 13,2020i Februaty lZ,Z0Zl; May lt 2021; June 4,Z0Zl;

August 13, 2021; November 12,2021; Febnrary 14,2022; May 26,2022; August lg, Z02Z;

November 15,2022; and February 27, zoz3. on each visit, plainfiffvestal:;i,mother ;inoior

grandmother complained to Defendants that Plaintiff Vestal was experienciil4 chmnic'and

ongoing diarrhea with blood preseDl Despite these comptair,ts, symptoms and,patient family

history, Defendant failed to smeen and test Plaiotiffvestal for colon caucer. . ,         .




    7   .   On or about April 18, 2023, Plaintiffpresented to Defendant for addjtional follow-

up for diarrhea, reetal bleeding with nausea and vomiting. on or about May zs,zo2?,plaintiff

was refened to gastroenterologist Dr. Luthell as a patient wi0r a stfong family history of colon

cancer, chronic diarrhea, and bloody stools without constipation, Thercafter, a CT revealedia

defect with the rectosigmoid junction indicating a possible mass in his colon. After

coloroscopy, Plaintiffwas found to have a colorectal rnass of 12 to l8 cm from,the analiverge

forwhichpathoIoryrevealedtonowbeastageIVmetastaticadenocarcinomar'

                                                                                ,   .i)       ,llri-




                                                                                                   : l.',
 Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 12 of 35
                                         DOCTJMENT2




                                          coUNTI
                                Negligence an d Wantonness

     8'      prai,tiff hurby adopts
                                       and incorporates by reference each of the
                                                                                            foregoing
paragmphs of this Complaint as ifset
                                       forth fully iu Count I.

     9'      Defendant Dr- Ballard-Mo.,tgomely, and
                                                             one or mor6 of the Fictitious par.ty
Defendants, breached the standad
                                    of cue by negrigentry and/or wantonry, careressryo
                                                                                                 and/or
unskiltfirlly caring for and trcating Plaiutifi Jameo
                                                          vestal, including but nor limited to
                                                                                                             as
follows:

            a' Negigently and/or wantonry faired to foilow the standard
                                                                                of care and skill of
                 t&e average quarified member of the
                                                         profession practicing the speciarties

                practiced by the Defendantn her agents,
                                                            servatrts, and ernproyees, taking
                                                                                                 into


            b. Negrigentry and/or rvantonry failed to follow the standard
                                                                               of care ard skiil oI
                the average prin:ary care physician
                                                        practiced by Defendant, and
                                                                                      her agents,,r i .
                servants and emproyees rrndertaking
                                                         the care of patients such as plaintif{ ,
                                                                                                    ,



                taking into account advances in
                                                  the   profession;                    :                 !



           c' Negligentry and/or wautonry failed to suspect and
                                                                      diagaose coron cancer;
           d' Negligently and/or war,tonry failed to investigate and.
                                                                          diagnose tbe cause of .i
               Plaintiffs dianhea aad rectal bleeding;

           e' Negligently and/orwantonry faired to ordera fecal
                                                                       occurtblood testfor
               Plaintiff;

           f. Negligently and/orwantoaly failedto ordera colonoscopy;
                                                                                                    ,i
           g. Negligently and/or wanfonly failed to refer plaintiffto
                                                                          a Glphysician;
    Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 13 of 35
                                           DOCUMENT2




              h. Negtigently andlor wantonly failed to follow up on Plaintiffs rectal bleeding
                    and dian'hea;

              i. Ne$igently andlor wantonly delaying tbe diagnosis of colon cancer.
       10. As a direct and ptsximate r'€sult of the negligence an<l/or wantonness of Defendani"
  Dr. Batlard-Montgornery, including the Fictitious Party Defendants, which combined and

                                                                             damage*,             t   t
  concurted, Piaintiffhas been caused to suffer the following injtuies and

               a.   Delay in the diagpoeis and teatrtertt of colon cancer;
                                                                                   i:!
               b.   Advance<l Stage fV metastatic colon    cancer;
               c.   Need for major colon resection surgery ;

               d.   Need   forchemotherapy;                                                  ,,


               e.   Prolonged hospitalization ard recovery;

               f.   Poor proguosis and survival rates for metastatic cancerc;

               g.   Poor morbidity;

               h.   Past and future pain, suffering and mental anguish;

               i.   Past and fuhrre loss ofenjoyment    oflife;                          '


               j.   Past and fuhre lirnitation of activities;

               k.   Past and futme medical bills a:rd expenditures.

       Whercfore, Plaintiff James Vestal demands judgment against the Defendant, including

Fictitious Party Defendants I - l3,joirrtly and severally, and requests that thejury selected to hear

this case render a verdict for the Ptaintiff and against each Defendant iu a sum in excess of the

jurisdictional timits of this Court, which will fairly and adequately compensate Plaintiff for the

abovedescribed damages, together with intere$t and the costs of the proceedings. Plaintiff further

requests that the jury award punitive dau:ages to Plaintiff in an amount which is adequatd to reflect
        Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 14 of 35
                                         DOCI.]MENT2




the enomfty of the Defendants' wrcngfirl acts aud which will derer and/or prevent other similar

of wroBgful    acts,                                                               ,        i ,._, ,



                                                                                               i ,r.j

Respecffirlly zubmitted this 10th day of January,2024.
                                                                                                 lr-l




                                            /s/Llovd W- Gathinps
                                            Lloyd W. Gathings (GAT001)
                                            Todd S. Shohmeyer (STR036)
                                            Attorneys for Plaintiffs

OF COIJNSEL..:
Cathings law
2140 I lrh AvenueNorth, Ste. 210
Birmingham, AL 35205
Telephone: 2A5 322.1.20L                                                                   iil:ir'
Facsimitq 2A5322.1202
 I   gathipBs(Asathinglsaw.coru.
tstrohmeyer"-@gathingslaw. com.



 Plaintilf s Address:
 P.O. Box43l
 Hamilton, Alabama 35570


                                           JURYDEMAND

            PLAINTITT DEMANDS A TRIAL BY STRUCK J[]RY ON ALL COTJNTS
                                                    /s/LlovdW. G.athinas.
                                                     OF COIJNSEL



     PLEASE SERVE DETENDANT WITH TIIE SUMMONS AND COMPL,AINT BY
     CPRTIFTED MAIL AS BOLIOWS


     Dr. Karen Ballard-Motrtgomery
     28921 Ilighway 5,
     Woodstock, AL 35188
      Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 15 of 35
                                               DOCI']\,IENT 3




 JAMES YESTAL, an hconperent adult,                       )
 by and through his next filend and
                                                          )
 Mother, KIMBERLY CARTER;                                 )       CTYIL A CITION II{I]MBER :
                                                          )
         Plalntlff,                                       )
                                                          )
 v.
                                                         )
                                                         )
 KAREN BALLARD-MONTGOMERY, M.D.,
                                                         )
                                                         )
         Defendant,
                                                         )




         COMES NOW the Plaintiffin the above-styled cause and hereby requests that
                                                                                            Defendant
Kareu Ballard-Montgomery, M.I). (hereinaller refened to as .,Defendanf,
                                                                                      or..Dr. Ballard-
Montgomery'), answer the following intentgatodes and request for production
                                                                                         of documents
within the time and in the manner required by Rules 33 and 34 of the
                                                                               Alabama Rules of Civil

Procedure. In additiou, Plaintiffrequests that Defendant attach a
                                                                      copy ofeach and every document

referred to or relied upon in answering any ofthe intenogatories
                                                                         or referoneed in De&ndant,s
responses thereto or that Defendant stete the date and time
                                                                 said documents wili be produced for

inspection aad copying at the office of the plaintiff s atrorney.

        NOTE: These ilrterrogatories shalt be deemed continuiug so as to require
                                                                                         supplemental
answers or rcsponses upon receipt ofadditional information
                                                                  by the defendaot.orrthe defendants,

attornsys subsequent to your original response. Auy such supplemental
                                                                              answers or responses are

to be frled and served upon counsel for Plaintitrs within thirry
                                                                       G0) days from receipt of.such
additional information but Dot later than the firct day of the trial of this case.
    Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 16 of 35
                                            DOCUMENTS




                             DEFIMTIONS AI{D INSTRUCTIONS

       The following deffnitions and instructious are to be used when answering these requests

for production:                                                                    r,l i:        ::

       1   ,      Tte terms "you" arrd ']ours", unless othenryise specified, means Karen Ballard-

Moutgomery,M.D.

       2.         The term "document" whether used in the singular orplura! when used hetein shall

be intelpreted in its broadest sense, and shall iuclude any original, reproduction, or copy of aoy

kind of writing or docrrmentary material, inctuding, without limitation, correspondeuce, letters,

mernoranda, interoffice cornmu$ications, e-mail, notes, records, reports, inspection reports,

financial statements, financial records, contaos, microfllm, microfiche, video or audio recordings,

memoranda of telephone or persoual communications, shipping lecords, bills of lading, minutes

ofmeetings, invoices, billings, check$, reports, brrlietins, btochures, charts, drafls, computer tapes

and any other pbysical rccordation of any aud all writings or communications, and every other

means of recording or preserving any taogible information, which employe the use of letters,

words, pictures, symbols, or aay combinatioo thereof, imluding but not limited tq elechonically

stored information. The word "documentft)' shall include all documents in you' actual 'or

constructive possessiou, custody, or control, that were prepared or made before, during or after the

discovery period that relate to transactioDs, occufiences, or operations petaining to the

circumstances made tle basis of this lawsuit.

        3.        Ifyou are unable to answer auy of the following requests for production completely,

you should answer to the sxtent possible and should state, in detail, the reason that your aoswer is

incomplete or the reason tbat you m€ unable to answer the question(s) or produce:the requested

documents or tecords,
    Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 17 of 35
                                         DOCI.JTIENT3




       4.     If you choose to respond to an Intenogatory by producing documenk and
electronically storcd information, clearly indicate to whicb Interrogatory and subparagraph to

which the docurnent$ aro responsive. Ifyou have already produced documents that arc responsive

to ar Intenogatory, describe the documents and the Intenogatory and subparagraph to which they

rcspond.

                                    INTERROGATORIES

    l. Please state your full name, Social Security number, residential addre,ss, oIlice addrcss,
       and occupation.

       RESPONSET



                                                                                              i, r



   2. Please list each pre-medical college or educational or military institution attended by you
       subsequent to high school graduatiou, providiag;

               (a)    the complete name of each institutioni,
               (b)    the address orlocation ofeach institution;
               (c)    the inclusive dates of enrollment; and
               (d)    the course ofstudy and any deglees received.

       RESPONSE:




   3. Please list each medical school you ever attended or from which you graduated and for
      eachgive:                                                           : '; '
               (a)    the name of each medical schoo[;
               (b)    the address or location of such scbool;
               (c)    inctusive dates of enrollment;
               (d)    any degrees receivedor course ofstudy; and
  Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 18 of 35
                                           DOC1JMENT3




              (e) whether such medical schoor is an accredited medical schoor,
                                                                                         and if sq by
                      whom each school is acuedited.

       RESPONSE:



                                                                                                  li':.,,


      Please give tle name and address of
                                             each hearth care institution at which you
                                                                                          r"*"d *'
      intemship and/or residerrcy. or herd a felrowship,
                                                           and specify as to each such hearth
                                                                                                care
     institution:

             (a) inclwive dates of your employment:
             O) your title or titles;-aud
             (c) the specialty field, if any, within wbich you worked
     BESPONSEI




 5' Ifyou con{ine your medicar practice to a particurar speciarty,
                                                                     prease state the nah*e ofyour

    speciarty, ttre inclusive dates you havepracticod
                                                        the speciarty and the name aud
                                                                                         address of
    institutions where you have received
                                           tminins in such specialty, and the
                                                                                dates ofany such
    specialty training.

    RESPONSE:




6' In which state(s) atd/or couuuy(ies) do you hotd a license
                                                                 to practice medicine?
    RESPONSE:




                                            4
 Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 19 of 35
                                             DOCUIVIENT 3




 7   . Have you ever had any medical license denied, suspended, revoked, or reskicted in any
       state or countrJf lfsq please state for each in what
                                                                way(s) your. license was reskicted, the

       date it was denied, suspended, revoked, or otherwise restricted,
                                                                            and the reason for tbe sarne.

       RESPONSE:




      Please state each hospital and its addrcss where you
                                                                 lrad stafr privileges dudng the period

      in question(your treatment ofplaintiff James Vestal).

      RESPONSE:




9. Have you ever had any staff privilege denied, revoked, suspended,
                                                                                   or reshicted at ahy
      hospital? If so, please state iu what way it was restticted,
                                                                     the reasons for the same, the name

      ofthe disciplinary body rhat deflie4 revoked, suspended,
                                                                       orrestricted i! and the date of
     the   same.                                                                                          l


      RESPONSE:




10. Please state the name aod address of eaeh
                                                    hospital, crinic, medical schoor, or other hearth

     care faciliry or institutioh with which you are
                                                        or ever have been affiliated (other tharr as a

     student or as a rorse officer), and as to each
                                                        such institution, indicate the nature ofyour

     affiliation, the inclusive dates thereof, and your title or titles.
Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 20 of 35
                                       DOC'I.JMENT3




     RESPONSE:




 11. Please list and describe every medicat jouroal, magazjn6, newsletter,
                                                                               circular, or other

    pubtication to which you subscribed or which you read to enhance your
                                                                             medical knowledge

    during the period 2018-2022, and for eaeh publication give the title and the
                                                                                      name and
    address of the publisher.

    RESPONSE:




12' State tle name and address of any entity, other than those entities
                                                                          named as dsfendant(s)

    in Plaintifs complaint, that you contend breached the standard of care
                                                                                 ariilicausedior
   conffibuted to the delay in the diaposis of colon caucer ofplaintiff

    RESPONSE:




13. Satethe name and address of each person, incruding experts,
                                                                  having any knowledge ofthe

   rclevaut facts related to the occurrence in question, the cause thereof,
                                                                               or the damages
   resulting therefrom.

   RESPONSE:

14. state the name, address, and qualifications of each expert whom you
                                                                            expect to call as an
Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 21 of 35
                                       DOCUMENT3




   expert wihress at the trial of this case, the subject matter on which the expert is cxpected to

   testi$r, and statb the substance ofthe facts and opinions to which the expert is expected to

   testi$/ ard a sunmary ofthe grounds ofeach opinion, and attach a copy ofany report,

   including factual observations and opinions, which has been prepared by such expert.

   RE$PONSE:




l5.If the Plaintiffl and/or Plaintiifs guardian(s), ever had a conversation with you" your
   employees, or other person in yor"rr preeence, rrlative to the occunence in question, please

   state as to each such conversation the substaoce ofthe couversation and who said what, ttre

   names and addresses of all those presen! the date and time of day, and the person with

   whom the Plaintiffwas conversing.

    RESPONSE:




16. Ifyou contend thatthe Plaintiffwas negligent in causing the occurrence in question, please

   list every act and ornissiofl of the Plaittiff tltat you contend caused or contributed to cause

   the occurence in question and Plaiutiffs injuries.

    RESPONSET




17. Ifyou coffend that any trird person's ot entitli's conduct in any way caused or contributed
Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 22 of 35
                                     DOCIJMENT3




  to cause tlre occurrence in queStion, please Set forth as fully arrd completely as possible

  sach such ac! identifying fully each $uch person or Sffity lry full name, current address,

  and stating how eacb $uch person or cntity caused or sontibuted to cause the occurrence

  in question and Plaintiffs injuries.

   RESPONSE:




18. If you contend that a defect in some drug, instument, machi1e, or othet type of medical

   product in aoy way caused or cootributed to cause tte occulrence in question, please fuliy

   ideutifi the produc! its serial nrrmber, manufacturer, and the precise manner h1 which you

   conlend it was defective or caused or contributed to cause the occunence in question and

   Plaintiff s injuries.

    RESPONSE:




19. Did you ever conzult with any other medical practitioner conceming the'diagnosis and

    treatment ofthe Plaintiffs condition? ifsq for each such practitioner consulted please
                                                                                             give


    the 11ame, address, specialty, dates, ard the teason for the consultation, a description'of

    each opinion givea, and whether a record was made of such    consultation                 r,



    RDSPONSE:

 20. What was the diagnosis and prognosis of Plaintiffwhen you lirst undertook
                                                                                 Plaintifls care
    Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 23 of 35
                                         DOCTJIVIENT 3




      and received complaints of diarrhea and bloody stools, and on what data were you basing

      youropinion?

      RESPONSE:




  21. Please deseribe aay investigation that was cauied out by you or on your bebalffollowing

      the occurrence in question, and state whether at the time it was done you were anticipating

      litigation in connection with the treatment ofthe Plaintiffin this case.

      RESPONSE;




                                REOUESTS FOR PRODUCTTON

IT IS IIEBEBY REQUESTED TEAT ALL DOCUNTENTS PRODUCED IN RESPONSE

TO THE FOLLOWING REQUESTS FOR PRODUCTION BE BATES STAMPED; AND,

FOR EACH REQIIEST FOR PRODUCTION ELICITING A RESPONSE WHICH

REFERS TO ANY DOCIJMENT TIIAT THtr RESPONSIVE DOCUMENTS BE

MENTNqED BY REIIERRING ?O THETR RESPECTIV& BATSS STAMP NUMBERS

rN ACCORDANCE WrTrr ALA. R" CrV. P. 34(h).



   l. Ail medi.cal records relating to the tr€atmeot of PlaintiffJames Vestal.
   2. All laboratory reports, test results, and diagrostic imagilg relating to ths treatmerrt of
      Plaintiff James Vestal-
 Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 24 of 35
                                        DOCUMENT3




3. Any written or electronic communication, including emails, memos, and/or letters
     between defendant and any third parry concerning the PlaintifrJames Vestal-

4. All documents regarding defendant's policy and procedures regarding the treatrnent of
     patieats like PlaintiffIames Vestal; includirg all documents for the treatment of cases

     like Plaintiff James Vestal.

5. Each medical chart, narrative' recotd, repoft, or other document (doctor or hospital records)
     pertaining to Plaintiffmade during the course of your professional relationsbip with the

     Plaintiffl
                                                                                                   \
5. A fully itemizcd billing statement showing charges for professiona! services rendered lo
     Plaintiffduring the period in question.

7. A copy of all statements previously made by the Plairtiff(s), or PlaintifFs guardian(s),
     conceming the occuntnce in question, including any written statement sigred or

     otherwise adopted or appointed by Plaiotift(s), and any steoographic, mechauical,

     electrical, or other such recording, or any traascription thereof,

8. Alyandallphotograplrs andvideos taken or directedtobetakenbytheDefendang irrthe
     course of, or subsequeut to, your treatflent and professional relationship with the

     Plaintiff.

9. Any and all drawings, diagrams, modcls, sketches, slides, or videotapes, which pertain to
     the treaklent of the Plaintiff.

 10. Copies of the most cunent re$ume or cumiculum vitae of this Defendant,     .     ,




 I l. A copy ofyour current medical    license.                                  ::       :




 12. Any and all expert's reports that have been obtained from ally expcrt who may be called

     to testify.
 .
                                                IO
 Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 25 of 35
                                       DOCI.JhIENT 3




13. Any and all personnel records ofemplc'yees listed in answers to discovery as persons

   having knowledge ofrelevant facts, including but not limited to applications for'

   employment appraisal reports, and time sheets for the period in question.

14. A copy ofany surveillance rnovies, videotape, photos, or films ofthe Plaintiff.

15. Copies of all documents, records, or other writings or tangible things telied upon or


   consulted or referred to in connection with prcparing these answers.

16. Any and all rqports, papers, records, statistics, literature, or other docurnents upon which

   any ofyour expert witnesses will base his or her opinion.

17. All books ald periodicals in yourpersonal library relating to the treauxent of Plaintiff.

   Please state a convenient time and place these can be inspecred.

18. All licenses pertaining to your practice of medicine in this aud all other states in which

    you are now or have ever been admitted to practice.

19. All documents relating to every hospital in which you have ever been permitted to

    practice or held any type ofstaffprivileges that have ever revoked, forfeited,,or accepted

    your resignatiou from practice or staff privileges.

20. Copies of any promotional literature or advertisements published by you forthe period,

    2018- present.

21. All records or documents submitted by you or on your behalf to auyhospital orpeer

    review committee in connection with or relevant to the occurrence in question.

22. A copy of any irwestigation conducted by you or on your behalf in connection with the

    ocourence in question that u/as trot done in anticipation of litigation.



    Respectfully subrnirted flris 1oth day of January, 2024.



                                              11
    Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 26 of 35
                                    DOCI"JMENT3




                                      /s/ Llovd W. Gathines
                                      Lloyd W. Gathings (cAT00t)
                                      Todd S Strohmeyer (STR036)
                                      Attomeys for Plaintiff


OF'COT]NSEL:
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Birmingham, AL 35205
Tel ephore: 2A 5 322.1 20 1
Facsimile: 205.322,1202
Isathines@sathins lsaw.com-
tstrohmeve(D,gathinsslaw,com.

Platntiffp AddrysE
P.O, Box 431
Hamilton, Alabama 3 55 70




                                    JURYDEMAIY.D

            PI,AINTTTX'S DEMAND A TRIAL BY STRUCK JURY ON ALL COUNTS




                                             h/ LloltdW, Qathings*
                                             OF COUNSEL

PLEA$E SERVE THESE INTERROGA.TORIES AND BEQITEST FORPRODUCTION
WITII THE SUMMONS AND COMPLAJNT BY CERTIF'IED MAIL AS }'OLLOWS:

Dr Karen Ballard-Montgomery
28921 Highway 5,
Woodstock, AK 35188




                                        l2
                Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 27 of 35


$tato of Alabama
                                                         SUMMONS                                          Court Case NumbEr
Uniti€d Judidal qrsbm
                                                                                                          07-cv-2a24,900003.00
Form C{4 Rsv.720Zg                                        .   clvll,
                                    IN THE CIRCUIT COURI OF BIEB GOUNTY, AT.ABAMA
                                JAMES VESTAL V. K.AREN BALLARD.!/IOI'ITGOiIIERY, M,D- ET AL
  NOTICE T0: KAREN BALLARIMONT@MERY, M.D., 28921 HIGHVYAY 6, wooDsrocK AL 3s188
                                                                    (Name ardAddress of Delendanl)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOURWRITTEN ANSWER, EITHER ADMTTTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILEO OR HAND
  DEUVERED BYYOU ORYOURATTORNEYTOTHE PLATNTTFF(S) ORATTORNEY(S) OF T'{E pLAINT|FF(S),
  LTOYD WEAVER GATHINGS


  WHOSE ADDRESS(ES) lS/AREr 21it0 'l1lh Aventle S., St6 210, BIRMINGHAM, AL 35205

  THIS ANSWER MUST BE MAILED OR DELIVERED ffiTHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER EOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS OEMANDED IN THE COMPLAINT OR OTHER DOCUMEiIT.

              TO ANY SHERIPF OR ANY PERSON AUTHORIZED gY THE AL.AE,S.MA, RULES OF CIVIL
                                            PROCEDURE TO SERVE PROCESS:                                                                : ii. r

  l] You are hereby commandod to serye thb Summons and a copy of th6 Complaint or other doflment in
     &ls action upon ths above-named Defendant
  p Servlce by certfled mall of thls SurnmorB is lnttiated upon the written ,Equest betow of  JAMES VESTAL
       pursuant to lhe Alabama Rules of thE Civil Procedure.
                    uhat2024                                                /s/ tflYLA COONER
                       (Date]                                                 (SunE,ture ol Cle/&)

  M CsrtitieO Mail is hereby reguested.                                 /s/ LLOYD WEAVER GATHINGS
                                                                        (Ptalnfltrs/Atlonrys   s/(nalure)                              ' . j.
                                                            RETURN ON SERVICE




                                                                PersonaYAulhodz€d
   I     t ce*ity ttrat t psrsonally dellvered a copy of thls Sumrnons and the Cornplaint or other document to


                                                                    (Nana of Counry)
   Document left:
           n wlth above-named Dofendant;
           fl    wi(h an indivlduel euthorted ta receive service of proc€ss pumuant to Rule4(c), Alabama Rules of Civil Prrcedure;
           I     at the abovo.named Dobndsnts dwellhg house or place or usual place of abode with some
                            of sullable aoe and discretion lhen resldlno thereh.

                                                                Refum of Non€eryi'o
   I     t certlfy that servlce of process of this Summons and lhe Complalnt or other document was refused by
                                               in'---@e€a@-                            County, Alabama        on------@6-           ..who is:

           [     fte above-named Defendant
                 an lndividual authorized to recalve servic€ of                           to Rule         Alabama Rules ol Civil

         As a deslgnaled procees se]vBr pul8udrit to Rub a(l)( 1 )(B), Alabama Rules of Clvll Procedure, I cErtry thst I am
         at least 19 yaas of agB, I am not a party io lhis procesding. and I am not releled wilhin thE thlnd dsgr66 by btood ot


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               Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 28 of 35




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                          county: 07      case Number: cv-2024-900003,oo court Action:
                          STYIE: JAMES VESTAL V. KAREN BALLAOD.MONTGOMERY, M.D, ET AL




 County:             075lBB                  Case   Number: CV-202,141r0003.!0                               Judoe:          PET:GOLLINS PETTAWAY, JR.
 sMe:                JATTEs VESTAL V, KAREN BALLAOD.I'ONTGO ERY; M.D. ET AL '
 Filed:              o1llol2o24              Case   Stalus:       ACIwE                                      Qase Type: I{EGLIGENCEGENERAL
 Trial Type:         JURY                     Track:                                                         Appellate Case:      0
 No of Plaintifis:   'l                      No ol Defendanls: 2




 Damage Amt: 0.00                            Punitive Damages:            0.(x)                              Gen€ralDamages: 0,00
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 Court Aclion Code:                              Court Action Desc:                                         Court Aclion Datel
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 Dai6 Trial B6gan bul No Verdlct (TBNVI):
 Oaie Trial Began bul No Verdict (TBNV2):




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AppealOate:                                 Appoal Cas6 Number:                                              Appeal Court:
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Transfer lo Admin Ooc Date: 04J08r2024        Tlansler Reason:    o                              Transler Desc: OTHER
Number oI Subponeas:                          Last Updale:        01to9t2021                     Updated    By:    CHN




 Party:              Coor+laintiff                                                                                           Type:      l.lNOlVlDUAL
 lnder               O BALLARD"I\IONT                                                           Hardship:     No             JID:       PET
Address 1:           c/o GATHINGti LAw                                                          Phone:        (205) 000{1000
             Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 29 of 35




                                      Slate:                                       zip:            35205{1000 Country: US
                                      DOB:                                         Sex:                            Race:


   Court Action
Courl Action:                                                                                   Court Action Date:
Amount of Judgemenl: $o.oo                        Courl Action For                              Exemptions:
Cost Againsl    Party:    $0,00                   OtherCosl:          $0.00                     Date Satislied:
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lssued:                lssued Type:                       Reissue:                              Reissue Type:
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Served:                Service Type                       Service On:                       NSigfi/Aq l&Answer:
Answer:                Answer Type:                       Notice of No Service:




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Party:           Dooloctendant        Name:       BALLARD{TTONTGOi ERY, M.D.      KAREN                           Type:     I-INDIVIDUAL
lndex:           c VESTAL JAMES       Alt Name:                                    Hardship: t{o                  JID:     PET
Address '1:      28921 HIGHWAY 5                                                   Phone: (205) 000.0000
Address 2:
City:            I/\TOODSTOCK         State:      AL                               Zipi            351884000 Country:      US
SSN:             )OO(iO(-)(91D        DOB:                                         Sex:                            Race:


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             Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 30 of 35




             lnformation
Party:             Doo2oefendant       Name:       FICTITIOUS DEFENDANTS .I THROUGH           I3                       Type:
lndex:            C VESTAL JAMES       Alt Name:                                       Hardship:
Address 'l:       2802'l HIGIIWAY 5                                                    Phone:           (20s) 00(H,000
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         3:{6 PM       FILE FILED THE DATE: 0l/10/202,1 (AVol)
         3:16 PU       EORD E'RDER FLAG SET TO 'Y"         (AVOT)

         3:16 FM       ASSJ ASSIGNED TO JUDGE: COLLINS PETTAWAY (AVol)

                                      @   Alacourt.com 4/17/2024
               Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 31 of 35




             3:16     Ptrl   scAN   cAsE SGANNED STATUS SETTO: N                (4V01)                                           AJA
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             3:16  PM STAT          CASE ASSIGNED STATUS OF: ACTIVE (AVol)                                                       AJA
              3:16 PM ORIG          ORIGIN: lNlTlAL FILING      (AV01)                                                           AJA
             3it6 PM C00{           C001 PARTY ADDED: VESTAL JAMES        (4V02)                                                 AJA
             3:16 PM C00l           INDIGENT FLAG SET TO: N        (AVO2)                                                        AJA
             3:lG PM Cool           LISTED AS ATTORNEY FOR C00'l: GATHINGS LLOYD wEAvE                                           AJA
 o12021      3:16 PM C00l           c001 EaRDER FLAG SET TO      "Y'          (AV02)                                             AJA
 0t2021      3:16 PU D00l           D00l PARTY ADDED: BALr-A,RD.ITONTGOMERY, M.D. KAREN                                          AJA
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             3:{7 PM D002           LISTEO AS ATTORNEY FOR D002: PRO     SE        (4v02)                                        AJA
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             1l:1il Al, D00l        LIgTED AS ATTORNEY FOR D00l: ADAMS ALLISON JO                                                AJA
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                                    ALTERNATMELY MOflO FOR EXTENSION oF TIME - RENDERED & ENTERED: /t E/2024 10:31:03 Ai, -
                                    ORDER
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Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 32 of 35




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Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 33 of 35




                        Exhibit 2
       Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 34 of 35




               IN TIIE UNITED STATES DISTRICT COURT
             FOR TIIE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

     JAMES VESTAL, an incompetent
     adult, by and through his next friend
     and Mother, KIMBERLY CARTER,

                  Plaintiff,                      CIVIL ACTION CASE
                                                  2:24-cv-


     KAREN BALLARD-
     MONTGOMERY, M.D.,

                  Defendant.



             CERTIFICATION OF SCOPE OF EMPLOYMENT

      Pursuant to 42 U.S.C. $ 233(c) and by virtue of the authority vested in me by

28 C.F.R. $ 15.3(a),I hereby certiff that:

      1.     I have read the complaint inlames Vestal, an incompetent adult, by

and through his nextfriend and Mother, Kimberly Carter v. Karen Ballard-

Montgomery, M.D., Civil Action No. 07-CV-2024-900003.00 (Bibb County

Circuit Court).

      2.     On the basis of the information now available with respect to the

claims set forth therein, I find that individual defendant Dr. Karen Ballard-

Montgomery, M.D., was acting within the scope of her employment as an
       Case 2:24-cv-00494-RDP Document 1 Filed 04/19/24 Page 35 of 35




employee of the United States at the time of the incidents out of which Plaintiff s

claims arose.

      DONE, on this the 17th day of April2024.


                                               4fr,,^fukth.e
                                             PRIM F. ESCALONA,
                                             LINITED STATES ATTORNEY
